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 8                        IN THE UNITED STATES DISTRICT COURT
 9                             FOR THE DISTRICT OF ARIZONA
10
     United States of America,
11                                                            CR-18-01305-PHX-GMS
                           Plaintiff,
12
              vs.                                       UNITED STATES’ SENTENCING
13                                                            MEMORANDUM
14   Thomas William Hancock,
15
                           Defendant.
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17
18                   INTRODUCTION AND SUMMARY OF SENTENCE
19          The United States asks the Court to (1) accept the terms of Hancock’s plea
20   agreement; (2) sentence Hancock to 37 months imprisonment; (3) order restitution in the
21   total amount of $1,269,426.67 ($1,260,891.42 to London Trust Media Inc. (“LTM”) and
22   $8,535.25 to Stripe Inc.); (4) order that the defendant shall pay a total of $1,269,926.67 in
23   criminal monetary penalties, subject to immediate enforcement by the United States.
24   Having assessed the Defendant’s ability to pay, payments of total criminal monetary
25   penalties are due as follows: Balance is due in equal monthly installments of $1000 over a
26   period of 34 months to commence 60 days after the release from imprisonment to a term
27   of supervised release. This payment schedule is merely a schedule of minimum payments
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 1   and shall not preclude enforcement of the full amount of the judgment by any means
 2   authorized by law.
 3          The above recommended sentence and terms fairly balances the serious nature of
 4   Hancock’s offenses, his relative role in the offense, any positive attributes, and the public
 5   policy concerns listed in § 3553(a).
 6   II.    The Sentencing Guidelines Range and PSR Recommendation
 7          The PSR for Hancock (doc. 54) calculates a total offense level of 21 and a criminal
 8   history category of I, resulting in a Sentencing Guideline range of 37-46 months. In
 9   exchange for him promptly accepting the plea agreement and avoiding unnecessary
10   hearings and trial preparation that would further tax the victims’ (and the prosecution’s)
11   time and resources, the parties stipulated to a cap at the low end of the range.
12          A.     The Government’s Sentencing Recommendation
13          In short, the government believes a sentence of 37 months is sufficient but not
14   greater than necessary to comply with the factors set forth in 18 U.S.C. § 3553(a). The
15   seriousness of Hancock’ offenses that resulted in a nearly $1.3 million loss to LTM, the
16   need for deterrence, and the need to avoid unwarranted sentencing disparities all weigh in
17   favor of a sentence at the low end of the applicable guideline sentence.
18          B.     The § 3553(a) Factors
19          The recommended sentence balances any of Hancock’s positive attributes with the
20   seriousness of the offense and public policy concerns.
21                 i.     Hancock’s History and Characteristics
22          As detailed in the PSR, for most of his adult life Hancock was law abiding until the
23   age of 27 when he began to engage in the theft of funds from his employer. It is worth
24   noting, however, that unlike many of the criminals who come before the Court who began
25   life with almost nothing, Hancock has enjoyed numerous advantages during his life. (See
26   PSR, ¶s 37-50; summarizing Hancock’s upbringing, education and family support).
27   Notwithstanding his advantages in life, Hancock embezzled a considerable amount of
28   money while he had a secure, stable and lucrative employment (earning nearly a $1 million


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 1   in 2017) that was commensurate with his educational background. Hancock profoundly
 2   betrayed the trust of his employers by stealing from them on a daily basis for nearly a year,
 3   using a deliberate and sophisticated scheme.
 4                 ii.    The Nature and Circumstances of the Offense
 5          As detailed in the PSR, the embezzlement underlying Hancock’s offense was
 6   serious and caused a significant loss to LTM. Hancock’s conduct was significant and
 7   should not be minimized. The scheme required considerable deliberation. Again, not only
 8   was he methodical in his fraudulent actions ( e.g., creating fraudulent invoices, setting up
 9   shell bank accounts, etc.) but he had to simultaneously pretend to be a diligent Chief
10   Internet Officer so that he would not be suspected of theft.
11                 iii.   Public Policy Concerns
12          Protection of the public and specific deterrence are concerns in this case as
13   Hancock’s fraud was protracted and complex. If the opportunity presents itself Hancock
14   has the sophistication to commit another offense.           General deterrence is also a
15   consideration. The United States believes that, in light of the collateral consequences of a
16   felony conviction (namely the real possibility that he will excluded from the United States),
17   a prison sentence of 37 months will deter others from committing similar crimes, as well
18   as promote respect for the law and provide just punishment.
19          Hancock will have a felony conviction on his record for the rest of his life. Once
20   released this will prevent him from working in many industries (in the United States and
21   perhaps elsewhere) and will prohibit him from obtaining many types of professional
22   licenses in the future. At a minimum, he will have to disclose his conviction when applying
23   for a professional license or applying for employment, just as he will have to disclose it
24   when attempting to get a loan, or in countless other situations. This is a significant
25   consequence for Hancock (in his early thirties when released) who will have limited
26   professional opportunities as a convicted felon. Considering the totality of circumstances,
27   a sentence of 37 months is appropriate.
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 1   II.   Conclusion
 2         For the reasons set forth above, the government asks the Court to:
 3               Accept the terms of Hancock’s plea agreement;
 4               Sentence Hancock to 37 months imprisonment, followed by three years of
 5                supervised release;
 6               Order restitution in the total amount of $1,269,426.67 ($1,260,891.42 to
 7                London Trust Media Inc. (“LTM”) and $8,535.25 to Stripe Inc.)
 8
 9         Respectfully submitted this 29th day of January, 2020.
10
11                                                    MICHAEL BAILEY
                                                      United States Attorney
12                                                    District of Arizona
13
                                                      s/ Kevin M. Rapp
14                                                    KEVIN M. RAPP
                                                      Assistant U.S. Attorney
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21                                      Certificate of Service
22         I hereby certify that on January 29, 2020, I electronically transmitted the attached
23   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
24   Notice of Electronic Filing to the following CM/ECF registrants: Cameron Morgan, Esq.
25   s/ Angela Schuetta
     U.S. Attorney’s Office
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